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 Fill in this information to identify the case:

 Debtor name         Tempus Aircraft Sales and Service, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)          18-13507
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00     $0.00
           Arizona Department of Revenue                             Check all that apply.
           1600 West Monroe Street                                    Contingent
           Phoenix, AZ 85007                                          Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00     $0.00
           California Franchise Tax Board                            Check all that apply.
           P.O. box 942857                                            Contingent
           Sacramento, CA 94240                                       Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Tempus Aircraft Sales and Service, LLC                                                          Case number (if known)          18-13507
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 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Colorado Department Of Revenue                            Check all that apply.
           Tax Audit Compliance Div.                                  Contingent
           1375 Sherman St                                            Unliquidated
           Denver, CO 80203-2246                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Internal Revenue Service                                  Check all that apply.
           1999 Broadway                                              Contingent
           MS 5012 DEN                                                Unliquidated
           Denver, CO 80202                                           Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Texas Comptroller of Public                               Check all that apply.
           Accounts                                                   Contingent
           P.O. Box 149348                                            Unliquidated
           Austin, TX 78714                                           Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $25.00
           5280 Drug Testing                                                        Contingent
           6093 South Quebec Street, 103                                            Unliquidated
           Greenwood Village, CO 80111                                              Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $182.00
           Aerographics                                                             Contingent
           1942 Broadway Street, STE 314C                                           Unliquidated
           Boulder, CO 80302                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes


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 Debtor       Tempus Aircraft Sales and Service, LLC                                                  Case number (if known)            18-13507
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 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,939.66
          Aerospace Turbine Rotables, In                                      Contingent
          112 SW 7th Street Suite 3C                                          Unliquidated
          Topeka, KS 66603                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,143.09
          Air Gas, LLC                                                        Contingent
          9811 Katy Fwy., Ste. 100, Attn: Alma Mir                            Unliquidated
          Houston, TX 77024                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,422.82
          Aircraft Spruce-Advantage, INC                                      Contingent
          7000 MERRILL AVE., BOX 20                                           Unliquidated
          Chino, CA 91710                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,586.91
          Aircraft Technical Publishers                                       Contingent
          101 S HILL DR                                                       Unliquidated
          Brisbance, CA 94005                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,050.98
          Airport Couriers                                                    Contingent
          PO Box 593212                                                       Unliquidated
          San Antonio, TX 78529                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Alan B. Ross                                                        Contingent
          2121 S Yorktown Ave Apt 1203                                        Unliquidated
          Tulsa, OK 74114                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Disputed Foreign Judgment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,136.67
          Allstream Business Inc                                              Contingent
          1821 30th Street Unit A                                             Unliquidated
          Boulder, CO 80301                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Tempus Aircraft Sales and Service, LLC                                                  Case number (if known)            18-13507
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $42,212.94
          American Express                                                    Contingent
          43 Butterfield Circle                                               Unliquidated
          El Paso, TX 79906                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,750.00
          Amstat                                                              Contingent
          44 Apple Street, Suite 5                                            Unliquidated
          Tinton Falls, NJ 07724                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,545.15
          Anthem Blue Cross Blue Shield                                       Contingent
          120 Monument Circle                                                 Unliquidated
          Indianapolis, IN 46204                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $281.89
          Arapahoe Aero                                                       Contingent
          12760 East Control Tower Road                                       Unliquidated
          Englewood, CO 80112                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,340.60
          Arapahoe Airplaza JV #1                                             Contingent
          7800 S Peoria St                                                    Unliquidated
          Englewood, CO 80112                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,239.79
          Arapahoe County Public Airport Authority                            Contingent
          7800 S Peoria St                                                    Unliquidated
          Englewood, CO 80112                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,110.73
          Arapahoe County Treasurer                                           Contingent
          5334 S Prince St                                                    Unliquidated
          Littleton, CO 80120                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Tempus Aircraft Sales and Service, LLC                                                  Case number (if known)            18-13507
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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40.00
          ARCpoint Labs of Scottsdale North                                   Contingent
          15455 N GREENWAY HAYDEN LOOP SUITE                                  Unliquidated
          C-16                                                                Disputed
          Scottsdale, AZ 85260
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Arthur J Gallagher & Co.                                            Contingent
          801 ADLAI STEVENSON DRIVE                                           Unliquidated
          Springfield, IL 62703                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,586.91
          ATP Library                                                         Contingent
          2000 Sierra Point Parkway, Suite 501                                Unliquidated
          Brisbane, CA 94005                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,108.91
          Aviall Services                                                     Contingent
          7285 S Revere Pkwy #703                                             Unliquidated
          Centennial, CO 80112                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,650.00
          Aviation Management Consulting, INC.                                Contingent
          3645 FOXBOROUGH LANE                                                Unliquidated
          Rockford, IL 61114                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,047.36
          BankDirect                                                          Contingent
          2350 Lakeside Blvd., Suite 800                                      Unliquidated
          Richardson, TX 75082                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $671.11
          BB&T Corp.                                                          Contingent
          200 W 2nd St                                                        Unliquidated
          Winston Salem, NC 27101                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Tempus Aircraft Sales and Service, LLC                                                  Case number (if known)            18-13507
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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,545.15
          BCBS of Colorado                                                    Contingent
          700 Broadway                                                        Unliquidated
          Denver, CO 80203                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,859.72
          BCS Voice and Data Solutions                                        Contingent
          4540 Bonney Road, Suite D                                           Unliquidated
          Virginia Beach, VA 23462                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $55,371.01
          BZK Custom Contracting LLC                                          Contingent
          2850 E Sierra St                                                    Unliquidated
          Phoenix, AZ 85028-1914                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,825.00
          Camp System International                                           Contingent
          11 Continental Blvd, Suite C                                        Unliquidated
          Merrimack, NH 03054                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,500.00
          Campbell Capital                                                    Contingent
          647 Fairfield Beach Road                                            Unliquidated
          Fairfield, CT 06824                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $115.00
          Centennial Instruments, Inc                                         Contingent
          7285 S REVERE PKWY UNIT 705                                         Unliquidated
          Centennial, CO 80112                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,400.00
          Centurylink                                                         Contingent
          100 Centurylink Drive                                               Unliquidated
          Monroe, LA 71203                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Tempus Aircraft Sales and Service, LLC                                                  Case number (if known)            18-13507
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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,998.08
          Chase                                                               Contingent
          270 Park Ave.                                                       Unliquidated
          New York, NY 10107                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $540.66
          Cintas                                                              Contingent
          5501 W Hadley St                                                    Unliquidated
          Phoenix, AZ 85043                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,775.42
          Cintas Cincor Corporation                                           Contingent
          5495 Oswego St                                                      Unliquidated
          Denver, CO 80239                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,806.30
          Cintas First Aid & Safety                                           Contingent
          1100 W 120th Ave                                                    Unliquidated
          Denver, CO 80234                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $150.00
          Compu Partners, LLC                                                 Contingent
          4915 W BELL RD STE 209                                              Unliquidated
          Glendale, AZ 85308                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,308.90
          Continental Testing Services, Inc.                                  Contingent
          P.O. Box 100                                                        Unliquidated
          La Grange, IL 60525                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Continuum Applied Tech. Inc.                                        Contingent
          9601 Amberglen Boulevard                                            Unliquidated
          Austin, TX 78729                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Tempus Aircraft Sales and Service, LLC                                                  Case number (if known)            18-13507
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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cox Communications, Inc.                                            Contingent
          6205-B Peachtree Dunwoody Road NE                                   Unliquidated
          Atlanta, GA 30328                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $550.00
          Dallas Aeromotive                                                   Contingent
          900 Nolen Drive, Suite 100                                          Unliquidated
          Grapevine, TX 76051                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,049.77
          Dell Inc.                                                           Contingent
          One Dell Way                                                        Unliquidated
          Round Rock, TX 78682                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $220.00
          Denver Heating and Air Conditioning Inc                             Contingent
          1900 W Hamilton Pl                                                  Unliquidated
          Sheridan, CO 80110                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,064.87
          Denver Jet Center                                                   Contingent
          7625 S Peoria St.                                                   Unliquidated
          Englewood, CO 80112                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $265.44
          Denver JetCenter, Inc                                               Contingent
          7800 E. Dorado Pl, Suite 245                                        Unliquidated
          Greenwood Village, CO 80111                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dish                                                                Contingent
          9601 S. Meridian Blvd                                               Unliquidated
          Englewood, CO 80112                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Tempus Aircraft Sales and Service, LLC                                                  Case number (if known)            18-13507
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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,791.80
          EJJ Holdings LLLP                                                   Contingent
          2222 S Albion Street, Suite 100                                     Unliquidated
          Denver, CO 80222                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,402.99
          EverBank Commercial Finance                                         Contingent
          10 Waterview Blvd                                                   Unliquidated
          Parsippany, NJ 07054                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.34
          FedEx                                                               Contingent
          3875 Airways, Module H3                                             Unliquidated
          Memphis, TN 38116                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $62.28
          Finnoff Aviation Products LLC                                       Contingent
          11914 Corporate Way                                                 Unliquidated
          Broomfield, CO 80021                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,245.00
          Frank's Westside Aircraft                                           Contingent
          6841 N. Glen Harbor Blvd.                                           Unliquidated
          Glendale, AZ 85307                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $442.34
          Gateway Crate and Freight, LLC                                      Contingent
          4263 E REINS RD                                                     Unliquidated
          Gilbert, AZ 85297                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.87
          General Air Service & Supply Co                                     Contingent
          1105 ZUNI ST                                                        Unliquidated
          Denver, CO 80204                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Tempus Aircraft Sales and Service, LLC                                                  Case number (if known)            18-13507
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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gordon Partners LLC                                                 Contingent
          4900 Woodway Dr                                                     Unliquidated
          Houston, TX 77056                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $827.75
          Grainger                                                            Contingent
          500 W Madison St                                                    Unliquidated
          Chicago, IL 60661                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $121,087.60
          Hartzell Propeller Inc.                                             Contingent
          One Propeller Place                                                 Unliquidated
          Piqua, OH 45356                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,040.15
          Home Depot                                                          Contingent
          2455 Paces Ferry Rd.                                                Unliquidated
          Atlanta, GA 30339                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Honeywell                                                           Contingent
          8323 Lindbergh Ct.                                                  Unliquidated
          Sarasota, FL 34243                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $46.25
          InterDyn BMI                                                        Contingent
          9201 N. 25th Ave., Suite 110                                        Unliquidated
          Phoenix, AZ 85021                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,449.06
          Iron Mountain                                                       Contingent
          11333 E 53rd Ave                                                    Unliquidated
          Denver, CO 80239                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Tempus Aircraft Sales and Service, LLC                                                  Case number (if known)            18-13507
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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39.68
          Kansas City Aviation Center I                                       Contingent
          15325 S Pflumm Rd                                                   Unliquidated
          Olathe, KS 66062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $997.20
          KLX Aerospace Solutions, Inc.                                       Contingent
          10000 N.W. 15th Terrace                                             Unliquidated
          Miami, FL 33172                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $139,807.64
          Law Office of Fred Begy III P.C.                                    Contingent
          30 S Wacker Dr # 2600                                               Unliquidated
          Chicago, IL 60606                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,305.00
          Masco Service Corp.                                                 Contingent
          850 S Dooley St.                                                    Unliquidated
          Grapevine, TX 76051                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $850.00
          Mayo Aviation                                                       Contingent
          7735 S Peoria St.                                                   Unliquidated
          Centennial, CO 80112                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $450.00
          Metro Maintenance Specialist                                        Contingent
          PO Box 61136                                                        Unliquidated
          Aurora, CO 80206                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,425.00
          Mid-Continent Instruments Co.                                       Contingent
          9400 E 34th St. N.                                                  Unliquidated
          Wichita, KS 67226                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Tempus Aircraft Sales and Service, LLC                                                  Case number (if known)            18-13507
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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          Military Contract Solutions LLC                                     Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $252.00
          Mobile Transponder Services, LLC                                    Contingent
          6015 W Condor Rd                                                    Unliquidated
          Peyton, CO 80831                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $289.98
          MT Propeller UA Inc.                                                Contingent
          1180 Airport Terminal Dr.                                           Unliquidated
          Deland, FL 32724                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $249.14
          Napa Auto Parts                                                     Contingent
          2999 Wildwood Pkwy                                                  Unliquidated
          Atlanta, GA 30339                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,108.39
          Neopost USA Inc.                                                    Contingent
          10065 E Harvard Ave                                                 Unliquidated
          Denver, CO 80231                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $220.07
          Newark Element14                                                    Contingent
          300 S Riverside Plaza #2200                                         Unliquidated
          Chicago, IL 60606                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $179.28
          Orkin Inc.                                                          Contingent
          2170 Piedmont Rd NE                                                 Unliquidated
          Atlanta, GA 30324                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Tempus Aircraft Sales and Service, LLC                                                  Case number (if known)            18-13507
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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $471,005.02
          Pilatus Business Aircraft Ltd.                                      Contingent
          11755 Airport Way                                                   Unliquidated
          Broomfield, CO 80021                                                Disputed
          Date(s) debt was
          incurred Dec. 2017        through April 2018                       Basis for the claim:    Aircraft Purchase Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,076.32
          Pratt and Whitney                                                   Contingent
          1000 Marie-Victorin Blvd.                                           Unliquidated
          Longueuil, Quebec J4G 1A1 Canada                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $72,067.13
          Rahimi Hughes Padget LLC                                            Contingent
          33 Bull Street, Suite 590                                           Unliquidated
          Savannah, GA 31401                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $134.16
          Ricoh                                                               Contingent
          1123 Warner Avenue                                                  Unliquidated
          Tustin, CA 92780                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $78.01
          Rocky Mountain Business Products                                    Contingent
          2020 S Pontiac Way                                                  Unliquidated
          Denver, CO 80224                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $850.00
          Rocky Mountain Inventory Inc.                                       Contingent
          9693 S Laredo St                                                    Unliquidated
          Highlands Ranch, CO 80130                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,752.81
          Rocky Mountain Propellers Inc.                                      Contingent
          2865 Airport Drive                                                  Unliquidated
          Erie, CO 80516                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,760.17
          Safety-Kleen Systems Inc.                                           Contingent
          2801 S Tejon St                                                     Unliquidated
          Englewood, CO 80110                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50.51
          Sherwin WIlliams                                                    Contingent
          101 Prospect Ave NW                                                 Unliquidated
          Cleveland, OH 44115                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6.46
          Sirius XM Radio Inc.                                                Contingent
          111 8TH AVE 13TH FLOOR                                              Unliquidated
          New York, NY 10011                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $142.46
          Skytech Inc.                                                        Contingent
          36 South 18th Ave. Suite A                                          Unliquidated
          Brighton, CO 80601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $970.00
          Snap On Tool Corp.                                                  Contingent
          2801 80th Street                                                    Unliquidated
          Kenosha, WI 53143                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,196.00
          Snap on Tools                                                       Contingent
          2470 S. Osceola St.                                                 Unliquidated
          Denver, CO 80219                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8.70
          Southwest Gas Corp.                                                 Contingent
          5241 SPRING MOUNTAIN ROAD                                           Unliquidated
          Las Vegas, NV 89150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Stang-Law Firm                                                      Contingent
          112 S.W. SEVENTH STREET SUITE 3C                                    Unliquidated
          Topeka, KS 66603                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Stepp & Sullivan P.C                                                Contingent
          1010 Lamar St # 810                                                 Unliquidated
          Houston, TX 77002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,226.00
          Straight Flight Inc.                                                Contingent
          13251 E Control Tower Rd                                            Unliquidated
          Englewood, CO 80112                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sun Life Financial                                                  Contingent
          1875 Lawrence St # 610                                              Unliquidated
          Denver, CO 80202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,800.12
          Sunstate Equipment Exchange Company                                 Contingent
          LLC                                                                 Unliquidated
          1331 17th Street, Suite 1250                                        Disputed
          Denver, CO 80202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sweetbaum Sands Anderson PC                                         Contingent
          1125 17th St #2100                                                  Unliquidated
          Denver, CO 80202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $105.00
          TASC                                                                Contingent
          4803 Stonecroft Blvd                                                Unliquidated
          Chantilly, VA 20151                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Tempus Aircraft Sales and Service, LLC                                                  Case number (if known)            18-13507
              Name

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,318.34
          Titan Services LLC                                                  Contingent
          1942 Broadway Street Ste 314C                                       Unliquidated
          Boulder, CO 80302                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,615.00
          Top Flight Detailing                                                Contingent
          7087 Turweston Ln.                                                  Unliquidated
          Castle Rock, CO 80108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,090.00
          Top Flight Detailing                                                Contingent
          11791 Bent Oaks St.                                                 Unliquidated
          Parker, CO 80138                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $594.67
          Verizon Wireless                                                    Contingent
          One Verizon Way                                                     Unliquidated
          Basking Ridge, NJ 07920                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $373.24
          Waste Management of Denver                                          Contingent
          1001 Fannin Street                                                  Unliquidated
          Houston, TX 77002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Claim as of October 31, 2017 (estimate)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $267.24
          Waste Management of Denver                                          Contingent
          9227 E. Lincoln Ave.                                                Unliquidated
          Lone Tree, CO 80124                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,378.00
          West Coast Wash Station                                             Contingent
          15115 N AIRPORT DR #9                                               Unliquidated
          Scottsdale, AZ 85260                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Tempus Aircraft Sales and Service, LLC                                                  Case number (if known)            18-13507
              Name

 3.101     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $7,949.18
           Western Aircraft Sales Inc                                         Contingent
           10566 Newlin court                                                 Unliquidated
           Parker, CO 80134                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No  Yes
 3.102     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $129.58
           Xcel Energy                                                        Contingent
           1900 W. Littleton Boulevard                                        Unliquidated
           Littleton, CO 80120                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No  Yes
 3.103     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,628.98
           Zachary Huston                                                     Contingent
           2800 Arapahoe St                                                   Unliquidated
           Denver, CO 80205                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No  Yes
 3.104     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $21,004.99
           Zarlengo Raub LLP                                                  Contingent
           4865 Ward Road                                                     Unliquidated
           Wheat Ridge, CO 80033                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Accountant fees
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       John M. Tanner
           Fairfield and Woods, P.C.                                                                  Line      3.73
           1801 California Street, Suite 2600
           Denver, CO 80202                                                                                 Not listed. Explain


 4.2       Shaun A Christensen
           1624 Market St Ste 310                                                                     Line      3.8
           Denver, CO 80202
                                                                                                            Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                           Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.          $                          0.00
 5b. Total claims from Part 2                                                                             5b.    +     $                  1,268,014.74
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                  5c.          $                     1,268,014.74




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